                     IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                                EASTERN DISTRICT

In re:                                           )       Case No. 17-17361
                                                 )
RICHARD M. OSBORNE, SR.,                         )       Chapter 7
                                                 )
         Debtor.                                 )       Judge Arthur I. Harris

          NOTICE OF TRUSTEE’S INTENT TO SELL PERSONAL PROPERTY
                          (WELLSCRAFT SCARAB)

         Please take notice that pursuant to 11 U.S.C. § 363(b) and in accordance with Rules

2002(a)(2) and 6004(a) of the Federal Rules of Bankruptcy Procedure, Kari B. Coniglio, the

Trustee in the chapter 7 bankruptcy case identified in the caption above, intends to sell the

following personal property (Wellscraft Scarab) at private sale:

                           Personal Property           Sale Amount
                           2016 Wellscraft Scarab Boat $22,000

The above property will be sold to Daniel C. Marino, Jr. of Canfield, Ohio, for the sum of $22,000,

with a 25% deposit ($5,500) to be paid upon the filing of this Notice and the balance to be paid in

immediately available funds upon expiration of the objection period set forth below. The sale of

the property will be free and clear of all liens, claims and encumbrances, pursuant to this Court’s

Order entered on September 14, 2022. See Docket No. 1218.

         The sale will be held and completed immediately following the time period set forth

below, at the Office of Kari B. Coniglio, Trustee, 200 Public Square, Suite 1400, Cleveland,

Ohio 44114.

         If you do not want the Court to approve the proposed sale; or if you want the Court to

consider your views on this matter, then on or before October 11, 2022, you or your attorney must:




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       File a written response, explaining your position, at:

       Clerk, U.S. Bankruptcy Court
       H.M. Metzenbaum U.S. Courthouse
       201 Superior Avenue
       Cleveland, OH 44114

If you mail your response to the Court for filing, you must mail it early enough so that the Court

will receive it on or before the date stated above.

       You must also mail a copy of your response to:

       Kari Balog Coniglio, Trustee
       200 Public Square, Suite 1400
       Cleveland, Ohio 44114

       Office of the United States Trustee
       H.M. Metzenbaum U.S. Courthouse
       201 Superior Avenue, East, Room 441
       Cleveland, OH 44114

       You must also attend the hearing on the Notice, scheduled to be held on October

18, 2022 at 10:00 A.M. in Courtroom 1A, Howard M. Metzenbaum United States Court

House, 201 Superior Avenue, Cleveland, Ohio 44114.

       If you or your attorney do not take these steps, the Court may decide that you do

not oppose the relief sought in the Notice and may enter an order granting that relief.

                                                            Respectfully submitted,

                                                            /s/ Kari B. Coniglio
                                                            Kari B. Coniglio #0081463
                                                            Chapter 7 Trustee
                                                            200 Public Square, Suite 1400
                                                            Cleveland, OH 44114
                                                            Tel (216) 479-6167
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                                                            kbconiglio@vorys.com




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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 15, 2022, a copy of the foregoing Notice of Trustee’s
Intent to Sell Personal Property (Wellscraft Scarab), was served via the Court’s electronic case
filing system on the entities and individuals who are listed on the Court’s electronic mail notice
list:

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                                                /s/ Kari B. Coniglio
                                                Kari B. Coniglio #0081463
                                                Chapter 7 Trustee




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